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                                       United States Bankruptcy Court
                                       Southern District of Florida
In re:                                                                                  Case No. 12-24912-RAM
Cesar A Sayoc                                                                           Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113C-1           User: admin                  Page 1 of 3                   Date Rcvd: Aug 01, 2012
                               Form ID: CGFD65              Total Noticed: 33


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 03, 2012.
db            +Cesar A Sayoc,    18151 NE 31 Ct #2016,    Aventura, FL 33160-2666
smg            Florida Department of Revenue,     POB 6668,    Tallahassee, FL 32314-6668
90473141      +Bank Of America,    Attention: Recovery Department,     4161 Peidmont Pkwy.,
                Greensboro, NC 27410-8110
90473142      +Bank Of America, N.a.,    450 American St,    Simi Valley, CA 93065-6285
90473144      +Chase,   P.o. Box 15298,    Wilmington, DE 19850-5298
90473145      +Chevron / Texaco Citibank,     Citi Corporation Credit Services/Attn: C,     Po Box 20363,
                Kansas City, MO 64195-0363
90473146      +Citgo Oil / Citibank,    Attn: Bankruptcy,      Po Box 20363,    Kansas City, MO 64195-0363
90473147      +Citibank Sd, Na,    Attn: Centralized Bankruptcy,     Po Box 20507,    Kansas City, MO 64195-0507
90473148      +Cpu/citi - Conoco Phillips Union,     Attn: Centralized Bankruptcy,      Po Box 20363,
                Kansas City, MO 64195-0363
90473149      +Crd Prt Asso,    Attn: Bankruptcy,    Po Box 802068,    Dallas, TX 75380-2068
90473150      +Credit One Bank,    Po Box 98873,    Las Vegas, NV 89193-8873
90473151      +Dsnb Macys,    9111 Duke Blvd,    Mason, OH 45040-8999
90473152      +Exxmblciti,    Attn.: Centralized Bankruptcy,      Po Box 20507,    Kansas City, MO 64195-0507
90473153      +First Usa Bank N A,    1001 Jefferson Plaza,     Wilmington, DE 19801-1447
90473159      +Hsbc Bank,    Attn: Bankruptcy,    Po Box 5213,    Carol Stream, IL 60197-5213
90473160      +Hsbc Nv,    Attention: Bankruptcy,    Po Box 5213,    Carol Stream, IL 60197-5213
90473161      +Indymac Bank/Onewest bank,     Attn:Bankruptcy,    2900 Esperanza Crossing,    Austin, TX 78758-3658
90473166      +Monterey County Bank,    Po Box 4477,    Beaverton, OR 97076-4401
90473167      +Shell Oil / Citibank,    Attn.: Centralized Bankruptcy,       Po Box 20507,
                Kansas City, MO 64195-0507
90473168      +Sunoco/citi,    Attention: Bankruptcy,    7920 Nw 110th St.,     Kansas City, MO 64153-1270
90473169      +Universal Realty Manag,    3850 Hollywood Blvd Ste,     Hollywood, FL 33021-6748
90473170      +Wachrl/Wells Fargo,    Attn: Centralized Bankruptcy MAC R4057-0,      Po Box 13765,
                Roanoke, VA 24037-3765

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
90502852     +E-mail/Text: bnc@atlasacq.com Aug 02 2012 02:39:01      Atlas Acquisitions LLC,     294 Union St.,
               Hackensack, NJ 07601-4303
90473143     +E-mail/Text: bankruptcy@cavps.com Aug 02 2012 02:40:47      Calvary Portfolio Services,
               Attention: Bankruptcy Department,     500 Summit Lake Dr. Suite 400,    Valhalla, NY 10595-1340
90473150     +E-mail/Text: creditonebknotifications@resurgent.com Aug 02 2012 02:37:17        Credit One Bank,
               Po Box 98873,   Las Vegas, NV 89193-8873
90473155     +E-mail/PDF: gecsedi@recoverycorp.com Aug 02 2012 05:06:19       Gemb/JC Penny,
               Attention: Bankruptcy,     Po Box 103104,   Roswell, GA 30076-9104
90473154     +E-mail/PDF: gecsedi@recoverycorp.com Aug 02 2012 03:11:56       Gemb/chevron,
               Attention: Bankruptcy,    Po Box 103104,   Roswell, GA 30076-9104
90473156     +E-mail/Text: bankruptcy@gulfcoastcollection.com Aug 02 2012 02:39:22       Gulf Coast Collection,
               5630 Marquesas Cir,    Sarasota, FL 34233-3331
90473157     +E-mail/Text: bankruptcy@gulfcoastcollection.com Aug 02 2012 02:39:22       Gulf Cst Col,
               5630 Marquesas Cir,    Sarasota, FL 34233-3331
90473158     +E-mail/Text: BKNOTICES@EAFLLC.COM Aug 02 2012 02:39:18
               Hilco Receivables/Equable Ascent Financi,    Attn: Bankruptcy,    1120 Lake Cook Road Suite B,
               Buffalo Grove, IL 60089-1970
90473162     +E-mail/Text: cio.bncmail@irs.gov Aug 02 2012 02:33:36      IRS,    PO Box 7346,
               Philadelphia, PA 19101-7346
90473163     +E-mail/PDF: gecsedi@recoverycorp.com Aug 02 2012 03:06:02       Lowes / MBGA / GEMB,
               Attention: Bankruptcy Department,     Po Box 103104,   Roswell, GA 30076-9104
90473164     +E-mail/Text: resurgentbknotifications@resurgent.com Aug 02 2012 02:37:01        Lvnv Funding Llc,
               Po Box 740281,   Houston, TX 77274-0281
90473165     +E-mail/Text: bankruptcydpt@mcmcg.com Aug 02 2012 02:37:51       Midland Funding,
               8875 Aero Dr Ste 200,    San Diego, CA 92123-2255
                                                                                               TOTAL: 12

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
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                                       Form ID: CGFD65                    Total Noticed: 33


               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 03, 2012                                       Signature:
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                             Form ID: CGFD65             Total Noticed: 33


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 1, 2012 at the address(es) listed below:
              Atlas Acquisitions   avi.schild@atlasacq.com
              Christian J. Olson   on behalf of Debtor Cesar Sayoc chris@simonsonolson.com,
               richard@simonsonolson.com;ecfsimonson@gmail.com
              Jacqueline Calderin    calderintrustee@gmail.com, jcalderin@ecf.epiqsystems.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 4
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CGFD65 (12/1/09)




ORDERED in the Southern District of Florida on August 1, 2012




                                                                        Robert A Mark
                                                                        United States Bankruptcy Judge


                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 12−24912−RAM
                                                                                                                Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Cesar A Sayoc
18151 NE 31 Ct #2016
Aventura, FL 33160

SSN: xxx−xx−3324




                              ORDER DETERMINING DEBTOR'S
                     COMPLIANCE WITH FILING REQUIREMENTS OF §521(a)(1)

       Pursuant to 11 U.S.C. §521(i), if an individual debtor in a voluntary case under chapter 7 or 13 fails to
file all of the information required under 11 U.S.C. §521(a)(1) within 45 days after the date of the filing of
the petition, the case shall be automatically dismissed effective on the 46th day after the date of the filing
of the petition.




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      The information required by 11 U.S.C. §521(a)(1) as provided by the debtor* in this case is complete
to the satisfaction of the trustee and no creditor or other party in interest has filed a request for an order of
dismissal pursuant to 11 U.S.C. §521(i)(2) as provided under Local Rule 1017−2(A)(2). Based upon the
trustee's review, the court has determined that the debtor has complied with the information requirements
of 11 U.S.C. §521(a)(1).

Accordingly, it is

ORDERED:


      1. This case is not subject to automatic dismissal under 11 U.S.C. §521(i)(1) or (2).

      2. If any creditor or other party in interest has any reason to contest the court's finding that the
         debtor has filed all information required by 11 U.S.C. §521(a)(1), that party shall file an
         objection not later than 21 days from the date of the entry of this Order, and serve such
         objection on the trustee, the United States Trustee, debtor, and debtor's counsel, if any. The
         objection should specifically identify the information and document(s) required by 11 U.S.C.
         §521(a)(1) that the debtor has failed to file.

      3. Each creditor or other party in interest served with this Order who does not file an objection
         within the 21 day deadline set forth above has waived the right to file a motion to dismiss this
         bankruptcy case for the debtor's failure to comply with 11 U.S.C. §521(a)(1).

      4. Nothing in this Order shall excuse the debtor's duty to cooperate with the United States
         Trustee and the trustee assigned to this case, and shall not prevent the United States Trustee
         or case trustee from requesting by any authorized means, including, but not limited to motion,
         that the debtor supply further information.


The clerk shall serve a copy of this order on all parties of record.




                                                               ###


    * All references to "debtor" shall include and refer to both of the debtors in a case filed jointly by two
                                                  individuals.




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